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                          Exhibit C
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                                  WHOLESALE BROKER AGREEMENT

       THIS W HOLESALE BROKER AGREEMENT (“Agreement”) is made and entered into as of
                            ,20 _ , between United Wholesale Mortgage, LLC, a Michigan limited liability company
(“UWM”), with its office located at 585 South Blvd E., Pontiac, MI 48341, and                                _______
(“Broker”) with its principal offices located at                                     .

                                                     RECITALS:

         WHEREAS, UW M is engaged in the business of, among other activities, purchasing and/or funding mortgage
 loans on residential real estate and reselling such loans in the secondary mortgage market; and

       WHEREAS, Broker is engaged in the business of taking applications for residential mortgage loans; assisting
borrowers in pre-qualifying for mortgage loans; selecting a mortgage product and completing an application; and
processing those applications on behalf of others in exchange for a fee or other consideration; and

        WHEREAS, during the term of this Agreement, UW M will advise Broker of UWM’s various FHA, VA, USDA,
conventional, jumbo and/or non-agency mortgage loan products as well as select bond program mortgage loan
products, and Broker intends, from time to time, to offer to UW M for potential purchase and/or funding certain FHA,
VA, USDA, conventional, jumbo and/or non-agency mortgage loans as well as select bond program mortgage loans
which fall within the parameters of UWM’s mortgage loan products;

       NOW , THEREFORE, in consideration of the mutual agreements and covenants hereinafter set forth, and other
good and valuable consideration, the receipt and legal sufficiency of which is hereby severally acknowledged, UW M
and Broker hereby agree as follows:


                                                     ARTICLE I
                                                    DEFINITIONS

 All words and phrases defined in this Article I (except as herein otherwise expressly provided or unless the context
 otherwise requires) shall, for the purposes of this Agreement, have the following respective meanings:

1.01.    “Agreement” means this Wholesale Broker Agreement and any written amendments or modifications hereto
         which are made in accordance with the terms of this Wholesale Broker Agreement.

1.02.    “Bond Authority” means a federal, state or local authority established for the purpose of making residential
         Mortgage Loans to low and moderate income borrowers and issuing bonds or other obligations to fund such
         loans.

 1.03.   “Bond Program” means a qualified single family residential Mortgage Loan program of a local, state or federal
         housing authority under which residential Mortgage Loans are made available to low and moderate income
         borrowers at below market interest rates and/or upon other terms and conditions favorable to the Borrowers.

1.04. “Borrower” means the person or persons who submit a Mortgage Loan Application to Broker, receive a
       Mortgage Loan, and are liable on a Mortgage Note to UW M.


1.05.    “Closing” means the funding of a Mortgage Loan by UWM.

 1.06. “Complaint” means a consumer communication of dissatisfaction regarding a product, service and/or
       participant in the loan process.

 1.07.   “Defect” means a breach in any respect of any representation or warranty herein contained with respect to
         a Mortgage Loan or any failure by Broker to comply with any covenant or condition herein contained with
         respect to a Mortgage Loan which could reasonably be expected to result in a loss or damage to UW M or a
         subsequent purchaser of such Mortgage Loan.
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 1.08.   “Defective Loan”means any Mortgage Loan that has a Defect.

 1.09.   “FHA” means the Federal Housing Administration.

 1.10.   “Freddie Mac”means the Federal Home Loan Mortgage Corporation or any successor thereto.

 1.11.   “FIRREA”means the Financial Institutions Reform, Recovery and Enforcement Act of 1989.

 1.12.   “Fannie Mae”means the Federal National Mortgage Association or any successor thereto.

 1.13. “Formal Complaint” means a Complaint received via: (i) any means from any state or regulatory agency,
       including but not limited to Attorney General offices, Congressman offices, and the Consumer Financial
       Protection Bureau; and (ii) electronic mail, fax, or letter that is addressed to the Chief Executive Officer,
       Branch Manager, President or other member of Broker’s senior management.

 1.14.   “Ginnie Mae”means the Government National Mortgage Association or any successor thereto.

 1.15.   “Mortgage”means a valid and enforceable Mortgage, Deed of Trust, or other Security Instrument creating
         a first or second lien upon described real property improved by a one-to-four family residential dwelling,
         which secures a Mortgage Note.

 1.16.   “Mortgage Documents”means all documents and instruments required by UWM and applicable law pertaining
         to a particular Mortgage Loan.

 1.17.   “Mortgage Loan”means a loan to individuals which is secured by a Mortgage and is subject to this
         Agreement.

 1.18.   “Mortgage Loans”means each and every Mortgage Loan, which is subject to this Agreement.

 1.19.   “Mortgage Loan Application” or “Mortgage Loan Applications” means an application for a Mortgage
         Loan processed by Broker in accordance with the lending requirements of UWM, including but not limited to
         those contained in the UWM Guide, the terms of this Agreement, all applicable governmental regulations, and
         the generally accepted practices and procedures within the mortgage industry.

 1.20.   “Mortgage Note”means a written promise to pay a sum of money at a stated interest rate during a specified
         term that is secured by a Mortgage.

 1.21.   “Mortgagor” means the obligor on a Mortgage Note.

 1.22.   “Repurchase”means the obligation of the Broker to purchase a Mortgage Loan from UW M which was
         previously transferred and/or sold to UW M by the Broker.

 1.23.   “RESPA”means the Real Estate Settlement Procedures Act of 1974 (12 U.S.C. 2601, et seq.), as amended
         from time to time.

 1.24.   “Servicing Rights”or “Servicing”means the rights, title, and interest in and to the servicing of the
         Mortgage Loans and the maintenance and servicing of the escrow accounts, along with the right to receive
         the servicing fee income and any and all ancillary income arising from or connected with all such Mortgage
         Loans.

1.25.    “Training and Information Services” means the training, marketing and/or information services provided
         to Broker in furtherance of Broker’s business, including but not limited to licensing related training and/or
         discounts, sample communications and/or related templates.

1.26     “Underwrite” or “Underwriting” means the examination of a Borrower’s application, credit history, income
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         and financial resources for the purpose of determining whether to extend credit to such Borrower.

 1,27,   “USDA” means the United States Department of Agriculture or any successor thereto.

 1.28.   “UWM Guide” means all verbal procedures and requirements delivered by UWM or its representatives as
         well as those procedures and requirements contained on UWM’s website and all links incorporated therein,
         including but not limited to EASE, as amended from time to time.

 1.29.   “VA” means the United States Department of Veterans Affairs.

                                                ARTICLE II
                                          PURCHASE & FUNDING OF LOANS

 2.01. Purchase and/or Funding of Loans by UWM. UWM agrees to c o n s i d e r purchasing and/or funding
 certain Mortgage Loans from Broker, provided that all of the following requirements are met:

         (a)     Upon payment by UW M of the purchase price for each such Mortgage Loan so purchased and/or
                 funded, all rights, title and interest in and to said Mortgage Loan shall be assigned and transferred by
                 the Broker to UW M free and clear of all claims, liens and encumbrances whatsoever.

         (b)     Each Mortgage Loan shall be transferred and/or sold to UW M on a “servicing released” basis
                 meaning that Broker shall release, transfer, convey and assign in a form and manner acceptable to
                 UWM, all of Broker’s rights, title and interest in and to the Mortgage Loan, including, without
                 limitation, the right to provide mortgage servicing in connection therewith.

         (c)     All FHA, VA, conventional, USDA, jumbo, non-agency and select Bond Program Mortgage Loans
                 shall be closed in the name of UW M, unless another name is specifically authorized by UW M in writing
                 in advance of closing; and

         (d)     All such Mortgage Loans shall meet UWM’s lending requirements, including but not limited to those
                 contained in the UWM Guide, and any other terms and conditions required by UWM, in its sole and
                 absolute discretion, which may be amended from time to time.

 2.02.   UWM Loan Requirements. UW M will advise Broker from time to time regarding the types of FHA, VA, USDA
         conventional, jumbo and/or non-agency Mortgage Loan products it is interested in considering purchasing
         and/or funding (individually a “Mortgage Loan Product” and collectively the “Mortgage Loan Products”),
         including, without limitation, information concerning interest rates, loan limits, loan-to-value, ratios, points, fees
         and underwriting requirements. Any commitment from UW M to Broker to purchase and/or fund any Mortgage
         Loan or Mortgage Loans or Mortgage Loan Applications will be issued in accordance with UWM’s current
         lending policies and shall be in UW M’s sole and absolute discretion. Such commitment must be in
         writing and be signed by an authorized employee of UW M and the terms of such commitment will be
         applicable only to the Mortgage Loan or Mortgage Loans specified therein. UW M may, in its sole and absolute
         discretion, cancel or discontinue any of the Mortgage Loan Products, with or without notice to the Broker.
         UW M will attempt to give advance notice of such changes but shall have no obligation to do so. Broker
         agrees to follow all practices and procedures required by UW M, as modified from time to time, including but
         not limited to those contained in the UWM Guide, as well as those required under applicable law.


 2.03.   Pricing of Loans; Lock-in Rates.

         (a)     UW M will provide price protection for the Mortgage Loans which it agrees to purchase and/or fund
                 hereunder in the form of a written lock-in confirmation pursuant to its lock-in policies and in accordance
                 with UW M’s lending requirements. The time at which the interest rate for a Mortgage Loan is locked
                 in shall be at Broker’s option, provided, however, a Mortgage Loan with a locked in interest rate must
                 be presented to UW M for purchase and/or funding before the expiration of the lock-in period. For
                 purposes of the Agreement, the “lock-in period” shall be determined in accordance with UW M’s
                 lending requirements. If a Mortgage Loan is not presented for funding by UW M within the lock-in

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                 period, such Loan may be re-priced at the sole option of UW M. The transfer or sale by Broker of a
                 Mortgage Loan locked in by UW M during the lock-in period to another entity, shall constitute a violation
                 of the Agreement, and the Broker shall be liable, and promptly indemnify UWM, for any loss sustained
                 as a result thereof by UWM. In addition, Broker shall notify UW M immediately should any
                 commitment by UW M for a locked-in Mortgage Loan be canceled, withdrawn, or otherwise
                 determined not to be set for purchase and/or funding by UW M.

         (b)     Broker will deliver the underwriting package to UW M not later than ten (10) calendar days prior to
                 the expiration of the lock-in period.

 2.04    Broker’s Fees. Subject to all other provisions of this Agreement, including Section 7.18, broker’s fee shall be
         payable by UW M when a Mortgage Loan is closed and funded by UW M and Broker has: (a) obtained in writing
         from UW M a firm commitment for UW M’s interest rate, discount rate and ancillary fees; (b) successfully
         negotiated with the borrower(s) any fees in excess of UWM’s fees for the Mortgage Loan; and (c) negotiated
         a spread premium fee from UW M for the Mortgage Loan, if applicable. UW M’s pricing is published on a
         daily basis and is often adjusted several times throughout the day and reflects market conditions, the efficiency
         of UWM’s operations and the value of the services (including Training and Information Services) that UWM provides.
         All pricing is subject to change without notice and no Mortgage Loan is price protected until UW M has issued
         a written lock confirmation. Broker shall not be entitled to any fee if a Mortgage Loan does not fund, regardless
         of the reason. In the event that any fees negotiated by Broker exceed those payable under applicable law,
         UW M may reduce such fees to a level which is in compliance with applicable law, without notice to Broker.
         Broker’s fees are payable only after UW M has first deducted all of its fees and charges from the loan
         proceeds. If the mortgagor(s) fails to make any one (1) or more of the first three (3) mortgage payments due
         on his/their Mortgage Loan by the last day of the month in which the payment is due, then Broker shall
         promptly reimburse UWM for all amounts paid by UWM to Broker in connection with said Mortgage Loan.


                                             ARTICLE III
                                   DUTIES, WARRANTIES & REPRESENTATIONS

 3.01.   Duties of Broker. The Broker shall exercise its best efforts in connection with the performance of the
         following duties:

         (a)     Broker shall take Mortgage Loan Applications in accordance with applicable law at its offices in its own
                 name through its employees and agents;

         (b)     Broker shall comply with all procedures established by UW M from time to time for the submission
                 of Mortgage Loan Applications under the Mortgage Loan programs made available to Broker,
                 including but not limited to those contained in the UWM Guide;

         (c)     Broker shall confirm whether each Mortgage Loan Application meets the terms, conditions and
                 requirements established by UW M with respect to the Mortgage Loan programs;

         (d)     After securing the requisite authority from the applicant(s), the Broker shall secure financial and credit
                 information from the applicant(s) and analyze the income and indebtedness of the applicant(s) to
                 determine the maximum reasonable Mortgage Loan obligations that the applicant(s) can bear;

         (e)     Broker shall: (i) educate the applicant(s) in regard to the home buying and financing process; (ii) advise
                 the applicant(s) about the different Mortgage Loan programs made available by UW M; and (iii)
                 explain to the applicant(s) how the closing costs and monthly payments would vary under the each of
                 the Mortgage Loan programs for which the applicant(s) may be eligible;

         (f)     Broker shall also: (i) verify the employment of the applicant(s); (ii) verify the deposits required; (iii) initiate
                 requests for mortgage loan verifications and payoffs; (iv) order an appraisal of the property through an
                 approved appraisal management company, as required; (v) order the necessary title commitment; (vi)
                 order a mortgage survey of the property, as required; (vii) provide the applicant(s) with all notices
                 and disclosures required by law; and (viii) assist UWM in obtaining any additional information

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                reasonably required by UWM in order to consider the Mortgage Loan Applications and/or facilitate
                the closing of all Mortgage Loans;

         (g)    Broker shall communicate with the applicant(s), real estate agent(s), and UW M in an effort to keep
                them informed as to the status of the application and/or the Mortgage Loan transaction and any
                changes in the terms of a Mortgage Loan within a reasonable time, and if UW M and other lenders
                represented by Broker deny credit to the applicant, Broker will prepare and deliver to the applicant
                a denial notice meeting all requirements of applicable law;

         (h)    Broker shall assist the applicant(s) in understanding and clearing credit problems;

         (i)    Broker shall notify UWM via electronic mail sent to theadvocate@unitedshore.com within
                five (5) business days of receipt of any Formal Complaint relating to a loan application
                submitted to, underwritten and/or closed by UWM and provide a copy of the Formal
                Complaint received;

         (j)    Broker shall perform such closing services as shall be reasonably required by UWM; and

         (k)    Broker shall further: (i) maintain, and will ensure that its employees and agents maintain, the
                confidentiality o f all non-public personal information collected in connection with Mortgage Loan
                Applications; (ii) comply, and will ensure that its employees and agents comply, with all applicable
                privacy laws and other laws with respect to the completion and processing of Mortgage Loan
                Applications; (iii) maintain an information security program; and (iv) originate and process each
                Mortgage Loan in full compliance with applicable law, the requirements of investors, and other written
                communications of UW M, including but not limited to those contained in the UWM Guide.

         (l)    Broker agrees that it will not use for its own benefit or the benefit of any other person or entity, will
                hold in complete confidence in compliance with applicable law, and will not disclose to any person
                or entity (other than Broker’s employees or agents who need access to the Confidential Information,
                as defined below, for the purpose of assisting Broker in fulfilling its obligations hereunder): (a) the
                confidential information relating to UWM which it has acquired or which it may acquire during the
                term of this Agreement; (b) any information that it has received or which it may receive during the
                term of this Agreement from UWM, its employees or agents of a confidential nature; (c) all notes,
                documents or materials prepared by Broker, its employees or agents which contain, reflect or are
                based upon, in whole or in part, the information described in subparagraphs (a) and (b) above
                (collectively the “Confidential Information”). UWM makes no representations or warranties of any
                kind, express, implied or statutory, with respect to the Confidential Information. Broker will return to
                UWM or destroy upon demand, all Confidential Information acquired by Broker, its employees or
                agents, including all copies thereof. Broker will ensure that its employees and agents comply with
                the terms of this paragraph.

 3.02.   Duties of UWM. UW M shall exercise commercially reasonable efforts in connection with the
         performance of the following duties:

         (a)    UW M shall Underwrite or cause to be Underwritten every Mortgage Loan submitted by Broker
                under this Agreement, provided, however, UW M shall have no obligation to issue a commitment for
                or close a Mortgage Loan which it determines, in its sole and absolute discretion, does not meet
                UW M’s Underwriting requirements;

         (b)    UW M shall: (i) issue a loan approval if the Mortgage Loan Application complies with all UWM
                requirements, including but not limited to those contained in the UWM Guide, and UW M elects to
                accept a Mortgage Loan Application; or (ii) issue a notice of rejection in compliance with law if UW M
                determines that any Mortgage Loan Application submitted hereunder does not meet its Underwriting
                standards, in its sole and absolute discretion;

         (c)    UW M shall duly consider each and every Mortgage Loan Application submitted by Broker and may
                rely upon the materials and information supplied to it by the Broker as well as the authenticity and

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                 accuracy of all signatures appearing on documents and instruments delivered to UW M; and

         (d)     Upon the issuance of a commitment in UW M’s name to the Borrower, UWM shall generally proceed
                 with Closing of the Mortgage Loan in accordance with the terms and conditions set forth in the
                 commitment to the Borrower but UWM reserves the right, in its sole and absolute discretion, to
                 cancel the purchase and/or funding of any Mortgage Loan or Mortgage Loans for any reason which
                 UWM determines to be material, in its sole and absolute discretion.

         (e)     UWM agrees to supply such Training and Information Services as it believes in its reasonable
                 discretion will be productive and feasible to provide.

 3.03.   Broker Warranties & Representations. Broker hereby warrants, represents and covenants to UWM with
         regard to each Mortgage Loan submitted to UW M for underwriting, purchase and/or funding that the following
         are true, complete and correct in all material respects as of the date of such submission, as if such warranties,
         representations and covenants are again made by Broker on those dates and shall continue to be valid and
         accurate throughout the entire lending process:

         (a)     Broker is duly organized, validly existing and in good standing in each jurisdiction in which it originates
                 Mortgage Loans delivered to UW M pursuant to this Agreement, and Broker has complied with all
                 applicable statutes, laws, rules and regulations, orders and decrees of all federal, state, county and
                 municipal authorities in connection with all such Mortgage Loans, including, but not limited to all
                 applicable federal consumer financial laws. Broker further has qualified, registered, obtained and
                 maintains all licenses and permits, and has taken all other requisite actions required in order to originate
                 all Mortgage Loans delivered to UWM pursuant to this Agreement. The execution and delivery of
                 this Agreement and the transactions contemplated hereby are duly authorized and binding on
                 Broker. Broker shall provide UW M with documentation to substantiate such existence and/or
                 compliance upon the request of UW M;

         (b)    All Mortgage Loans which Broker submits to UW M have met all material requirements of federal,
                state, or local laws, as amended from time to time, including, but not limited to those contained in the
                UWM Guide, and (i) usury; (ii) the Federal Truth-in-Lending Act of 1969 and Federal Regulation Z
                thereunder; (iii) RESPA and Regulation X thereunder; (iv) the Federal Equal Credit Opportunity Act and
                Regulation B thereunder; (v) the Federal Fair Credit Reporting Act; (vi) the Flood Disaster Protection
                Act of 1973; (vii) the Fair Housing Act; (viii) the Home Mortgage Disclosure Act; (ix) the FIRREA; (x)
                New York Executive Law Article 15, Section 296-a; (xi) the Secure and Fair Enforcement for Mortgage
                Licensing Act of 2008, (xii) the Gramm-Leach-Bliley Act (Pub. L. No. 106-102, 113 Stat. 1338), as
                amended from time to time; (xiii) the Fair and Accurate Credit Transactions Act; (xiv) the Home
                Ownership Equity Protection Act; (xv) all rules, regulations and guidelines promulgated by the
                Consumer Financial Protection Bureau; (xvi) The Dodd-Frank Wall Street Reform and Consumer
                Protection Act; (xviii) any and all licensing requirements relating to Broker’s rights to originate and sell
                Mortgage Loans; (xix) the requirements of all governmental authorities regulating Broker; and (xx)
                any and all laws, rules, ordinances, and regulations concerning adjustable rate mortgages, negative
                amortization, and graduated payment mortgages, and Broker shall maintain in its possession, and
                make available for UWM’s inspection, and shall deliver to UW M upon demand, evidence of
                compliance with all such laws and requirements;

         (c)    Broker has no knowledge of any circumstances or conditions with respect to any Mortgage Loan
                submitted to UW M for underwriting, purchase and/or funding, that the mortgaged property, the
                Mortgagor or the Mortgagor’s credit standing could cause an institutional investor to regard the
                Mortgage Loan as an unacceptable investment, or otherwise cause the Mortgage Loan to become
                delinquent or materially adversely affect the value or marketability of the Mortgage Loan;

         (d)     With regard to FHA, VA or USDA insured Mortgage Loans, the Federal Housing Commissioner, VA
                 or USDA, as applicable, has or will issue the mortgage insurance certificate or loan guaranty
                 certificate; and all payments due for mortgage insurance premiums have been paid to the insuring
                 authority; nothing has been done or omitted, and no circumstances exist, the effect of which act,
                 omission or circumstances would invalidate the contract of mortgage insurance with the FHA,VA or
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               USDA as applicable; and the Mortgage Loan complies with the regulations of the FHA,VA or USDA as
               applicable;

        (e)    All of the appraisers who have performed appraisals in connection with the Mortgage Loans
               submitted to UW M for purchase and/or funding have been properly licensed and are currently
               approved in accordance with applicable law and any appraisal management company utilized has
               passed UWMs approval process;

        (f)    The appraisal submitted in connection with each Mortgage Loan meets the requirements of FIRREA,
               and the Underwriting for each Mortgage Loan, if performed by Broker, has been performed in
               accordance with all of the provisions of applicable law, UW M’s lending requirements, including but
               not limited to those contained in the UWM Guide, and the terms of this Agreement;

        (g)    No legal actions are pending or threatened which might reasonably affect any Mortgage Loan or the
               Broker’s ability to transfer any Mortgage Loan to UWM free and clear of all claims and liens, or
               otherwise perform its obligations hereunder, except as previously disclosed by Broker to UW M in
               writing;

        (h)    Broker is not in default with respect to any material agreement to which it is party or by which it is bound,
               and the execution and performance of this Agreement will not violate any law, or term of its
               organizational and governance documents, as amended, or any material agreement to which
               Broker is a party or by which it is bound, and will not violate or conflict with any other restriction of
               any kind or character to which Broker is subject;

        (i)    All information submitted by Broker to UW M with regard to the Mortgage Loan, including all written
               materials, is presented and warranted by Broker to be true, correct, currently valid, and genuine in
               all material respects, as to all information within Broker’s knowledge and as reported by each
               applicant and do not omit to state any facts necessary to make the statements contained therein
               not misleading; Broker has no knowledge of any circumstances or conditions with respect to any
               Mortgage Loan submitted to UWM for underwriting, purchase and/or funding, that the mortgaged
               property, the mortgagor or the mortgagee’s credit standing could cause an institutional investor to
               regard Mortgage Loan as an unacceptable investment, or otherwise cause the Mortgage Loan to
               become delinquent or materially adversely affect the value or marketability of the Mortgage Loan;

        (j)    The Mortgage Documents and all other materials submitted to UW M in connection with the Mortgage
               Loan do not contain any fraudulent information or misstatement or omission of fact, and the Mortgage
               Loan has been originated in a manner consistent with prudent mortgage banking practices and
               consistent with the guidelines and policies established by UW M, Ginne Mae, Fannie Mae, Freddie
               Mac, a Bond Authority, the FHA the USDA the VA, or other investor, as applicable;

        (k)    There are no undisclosed agreements between the Mortgagor and Broker concerning any facts or
               conditions, whether past, present or future, which might in any material way affect the payment and
               performance obligations of the Mortgagor or otherwise make the Mortgage Loan non-salable in the
               secondary market. Broker did not unduly influence or otherwise steer the Borrower into selecting a
               higher cost Mortgage Loan program;

        (l)    Broker is solvent and has adequate capitalization and financial resources to properly engage in the
               business of originating and processing Mortgage Loans;

        (m)    Broker shall promptly advise UW M of any material change concerning the Broker, including, but not
               limited to, any change in ownership, financial condition or senior management, as well as the
               termination of any manager, mortgage loan officer or mortgage loan originator;

        (n)    Broker has no interest or direct or indirect ownership of all or any part of the property subject to a
               Mortgage Loan and Broker has no ownership interest in, or familial relationship with, the seller(s),
               Borrower(s), broker(s), Realtor(s), inspectors, appraisers or other persons performing any
               settlement services relating to any Mortgage Loan and shall not receive any fees or payments, either

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               directly or indirectly, in violation of applicable law (unless such relationship has been disclosed to and
               approved by UWM in its sole discretion);

        (o)    All Mortgage Loan Applications and/or Mortgage Loans presented to UWM by Broker for
               underwriting, purchase and/or funding have been originated by Broker, and no such Mortgage Loan
               Applications and/or Mortgage Loans have been originated by a third party;

        (p)    Broker acknowledges that it does not and shall not discriminate against applicants on the basis of
               age, race, color, gender, ethnic background, national origin, religion, marital status, familial status,
               veteran status, handicap, sexual orientation, receipt of public assistance, because rights have been
               exercised by the applicant under any consumer protection law, or any other prohibited basis;

        (q)    With respect to subsections (a) through (p), inclusive, of this Section 3.03, Broker will promptly
               notify UW M if Broker becomes aware that any terms, conditions, warranties, representations or
               covenants hereunder become untrue or incomplete in any material respect in the future;

        (r)    The representations and warranties of Broker set forth in this Agreement are applicable whether
               or not non-employee contractors are used in lieu of employees of Broker in fulfilling any of Broker
               responsibilities and obligations set forth in this Agreement;

        (s)    Broker will immediately notify UW M if: (i) Broker fails to maintain any license or registration in violation
               of subsection (a) above, or if any such license or registration is cancelled or suspended; or (ii)
               Broker becomes subject to any enforcement and/or investigative proceeding by any licensing or
               regulatory authority or agency (subject to any confidentiality restrictions imposed by such licensing or
               regulatory authority or agency); or (iii) Broker is named as a party or becomes involved in any litigation;
               or (iv) Broker and/or any of its principal director(s) or owner(s) becomes the debtor in any voluntary
               or involuntary bankruptcy proceeding; or (v) Broker and/or any of its principal director(s) or owner(s)
               suffers the appointment of a receiver, custodian or trustee; or (vi) Broker and/or any of its principal
               director(s) or owner(s) has incurred or is likely to incur a material, adverse change in its/their financial
               condition; or (vii) Broker suffers a levy, execution or seizure upon material business assets

        (t)    All representations, warranties and covenants contained in this Agreement shall inure for the benefit
               of UW M and its successors and assigns;

        (u)    Broker hereby appoints UWM and its directors, officers, employees, agents, successors and assigns,
               as its true and lawful attorney-in-fact, which appointment shall be deemed to be coupled with an
               interest, without right of revocation and with full power of substitution for and in its place and stead to:
               (i) demand and control all sums due on Mortgage Loans closed and funded pursuant to this Agreement
               and to enforce all rights with respect thereto, (ii) endorse, mark, place or otherwise evidence Broker’s
               name as payee on all checks, drafts, acceptances or other form of partial or full payment delivered
               or tendered to UW M with respect to a Mortgage Loan, (iii) endorse, mark, place or otherwise evidence
               Broker’s name on all notes, Mortgages, deeds of trust, and other forms of security instruments or
               collateral and all assignments, full or partial releases or satisfactions of said Mortgages, deeds of trust,
               and other forms of security instruments or collateral for all Mortgage Loans closed and funded
               pursuant to this Agreement. Broker agrees to execute such other documents as UW M may
               reasonably request to evidence the appointment of UWM, as Broker’s attorney-in- fact.

        (v)    Broker has in full force and effect and will continue to maintain an errors and omissions policy or
               policies or mortgage bankers blanket bond covering all of its activities under this agreement, as
               required by and with terms acceptable to Fannie Mae and Freddie Mac and shall provide to UWM,
               on an annual basis or as required by UWM satisfactory evidence thereof, and Broker also has and
               will continue to comply with any and all fidelity bond and surety bond requirements of Fannie Mae,
               Freddie Mac, and/or any state agency having or claiming to have jurisdiction over Broker.

        (w)    No employee, contractor, agent or other representative of Broker, or acting on behalf of Broker is:
               (a) subject to the provisions of such Executive Order 13224 or the Office of Foreign Assets Control
               of the United States Department of the Treasury (the “OFAC Regulations”); (b) listed as a “blocked

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                 person” for purposes of the OFAC Regulations; or (c) listed on Freddie Mac’s Exclusionary List, the
                 U.S. General Services Administration (GSA) Excluded Parties List (EPL), the HUD Limited Denial
                 of Participation List (LDP List), and/or the Federal Housing Finance Agency’s (FHFA) Suspended
                 Counterparty Program (SCP) list.

         (x)     Broker will not submit a mortgage loan or mortgage loan application to Rocket Mortgage or Fairway
                 Independent Mortgage for review, underwriting, purchase, and/or funding.

 3.04.   UWM’s Warranties & Representations. UW M represents and warrants that UW M possesses all necessary
         licenses from all regulatory authorities having jurisdiction over the Mortgage Loans to engage in the activities
         contemplated by this Agreement.

3.05     Survival. All representations, warranties and covenants of Broker contained in this Agreement shall survive
         the expiration and termination of this Agreement and shall continue in effect as to each Mortgage Loan for so
         long as any amount due from the Borrower remains outstanding and unpaid. Notwithstanding the foregoing,
         upon Broker providing notice of termination of this Agreement in accordance with Section 7.06, any future
         restriction of Broker under the representation and warranty in Section 3.03(x) shall no longer apply.

                                                        ARTICLE IV
                                           POST-CLOSING DOCUMENTATION
 4.01.   Broker’s Obligation Regarding Post-Closing Documents. Broker agrees that it is responsible for assisting
         in obtaining and delivering post-closing documents required to complete closed Mortgage Loan packages
         within the time frames established by UW M in its lending requirements or otherwise. UW M, in its sole and
         absolute discretion, may exercise its option to NOT fund a Mortgage Loan if all underwriting and/or closing
         conditions are not satisfied prior to funding. Broker understands that it is not authorized or empowered to
         accept or clear any lending conditions of UW M. Broker further understands and agrees that if Broker fails,
         neglects or refuses to obtain and deliver any post-closing documents reasonably required by UW M, UW M shall
         have the unilateral right to offset the reasonable costs associated with securing such post-closing documents
         against any amounts due Broker by UW M. Broker shall upon request from UW M, exercise its best efforts to
         take all actions necessary, in a timely and accurate manner, to obtain corrections to any and all loan
         documents deemed appropriate or desirable in UW M’s sole and absolute discretion and to otherwise assist
         UW M in remedying any matter not in compliance with applicable law, regulations, or the requirements of
         UW M, including assisting UW M in obtaining recorded documentation related to a Mortgage Loan and title
         policies from closing agents, or to enable UW M to sell, convey, obtain guaranty for, or market loans. The
         failure, refusal and/or neglect of Broker to secure post-closing documentation in a timely manner shall entitle
         UW M to exercise a right of set off with respect to any amounts due Broker, and/or the right to require the
         repurchase of the Mortgage Loan in question by the Broker, in the sole and absolute discretion of UWM.


                                                ARTICLE V
                                INDEMNIFICATION & REPURCHASE BY BROKER

 5.01.   Indemnification by Broker. Broker agrees to indemnify, defend (by counsel acceptable to UW M), and hold
         UW M harmless from and against any and all liabilities, claims, losses, damages and out of pocket costs
         (“individually a “Claim” and collectively the “Claims”): (a) resulting from any breach of this Agreement; (b)
         resulting from any act or omission by Broker in connection with any Mortgage Loan subject to this Agreement;
         (c) arising from or in connection with Broker’s use of any non-industry standard form not provided or
         approved by UW M in connection with any Mortgage Loan; (d) concerning miscalculations and other errors
         which result from Broker’s independent application and processing procedures as well as for its misuse of
         forms required by UW M; (e) asserted against UW M under provisions of RESPA, including without limitation,
         claims based upon, or arising as a result of, any payments received by Broker in the nature of rate spread
         premium, service release premium, back points, discount points, broker rebates, and the like; (f) incurred or
         paid by UW M as a result of the exercise of a right of cancellation or right of recession by any Borrower in
         connection with a Mortgage Loan; and (g) extraordinary servicing costs or carrying costs related to any Mortgage
         Loan as a result of any of the following circumstances: (i) any breach of any representation, warranty or
         covenant contained herein, or any material breach of this Agreement; or (ii) if UW M is required to repurchase
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         any Mortgage Loan which it has sold to an investor, or which it has placed or pledged to a mortgage pool,
         which repurchase requirement is a result of the Mortgage Loan being classified as a Defective Loan as the
         result of any act or omission of Broker; (each a “Repurchase Event”), the Broker shall be obligated to promptly
         repurchase such Mortgage Loan. If any Claim shall be asserted or brought against UW M by reason of any
         such act or omission of Broker, Broker shall upon demand, obtain representation by legal counsel acceptable
         to UW M to defend UW M against any such Claim and Broker shall pay all costs and attorney’s fees incurred
         in such defense. All of the provisions of this Article V shall survive the closing of each Mortgage Loan
         transaction and shall inure to the benefit of UWM and future assignees of UWM.

 5.02.   Terms of Indemnification.

           (a)   Broker may be required (at UW M’s option) to remit to UW M immediately upon demand a good faith
                 advance to be applied by UWM to cover any such Claim arising from such Repurchase Event, and

           (b)   Broker may be required (at UW M’s option) to remit to UW M immediately upon demand a
                 non-refundable loan administration fee, and

           (c)   Broker shall immediately upon receipt of notice from UW M confirming the occurrence of a
                 Repurchase Event, fully reimburse UW M for the rate premium and/or service release premium
                 originally paid to Broker at the time the Mortgage Loan was purchased by UWM, whether such
                 premium was included in the gross price paid or referenced separately, and

           (d)   Broker may additionally be required to remit to UWM immediately upon demand following a
                 Repurchase Event, any additional amount to cover actual loss to UW M not otherwise reimbursed
                 by the good faith advance or loan administration fee, as outlined above. Any good faith advance
                 and additional amounts required under Section 5.02(a) and/or 5.02(b) herein in excess of actual
                 losses will be returned to the Broker upon final loss reconciliation by UW M. Broker agrees that its
                 failure to comply with the terms of the indemnification sections within this Agreement shall give UW M
                 the right to demand full repurchase of said Mortgage Loan, and upon any such demand, Broker
                 shall promptly repurchase such Mortgage Loan and reimburse UW M for all costs and expenses
                 associated therewith.

 5.03.   Right of Set-off. Broker grants UW M the right of set-off and UW M may deduct any fees, penalties, damages,
         or other sums owed by Broker to UW M hereunder from the purchase price or loan funding of any Mortgage
         Loans purchased from Broker and/or funded by UW M. Broker shall be responsible for compensating UWM
         for any tolerance cure(s) that UWM is required to make to the Borrower because of Broker’s acts or
         omissions in connection with the Mortgage Loan as determined by UWM in its sole and absolute discretion.
         UWM may also withhold, set-off and apply any fees, expenses, tolerance cures or other matters otherwise
         due and payable to Broker to any obligations of the Broker to UWM. UWM shall have the right to withhold
         any fees or payments until the Loan file is complete and the Broker has performed all of its obligations under
         this agreement.


                                                  ARTICLE VI
                                             BROKER USE OF DESKTOP
                                                 UNDERWRITER

6.01.    ARTICLE VI Definitions. Any capitalized terms used in ARTICLE VI and not otherwise defined in ARTICLE
         VI or this Agreement have the meanings given to them in the License Agreement (as hereinafter defined).
         UWM has entered into the Fannie Mae Licensed Application Master Terms and Conditions (“Master Terms”)
         and its Desktop Underwriter® Schedule and associated Redistribution Addendum thereto (“DU Schedule”
         and “Addendum”, respectively, and together with the Master Terms, the “License Agreement”) with Fannie
         Mae governing the rights and obligations of UWM and Fannie Mae with respect to UWM's use of Desktop
         Underwriter (the “Licensed Application”). Broker is an Affiliate or Subsidiary of UWM and desires to use
         the Licensed Application in connection with Prequalification Analysis, mortgage loan origination and/or
         underwriting activities.
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         All words and phrases defined in this ARTICLE VI shall, for the purposes of this ARTICLE VI only, have the
         following respective meanings:
           (a)   “Affiliate” shall mean a mortgage lending entity or Third Party Originator that performs
                 Prequalification Analyses, origination or underwriting in relation to mortgage loans intended to be
                 closed by UWM or assigned or sold to UWM.
           (b)   “Consumer Credit Data” shall mean any information obtained by Broker, either directly or indirectly,
                 which bears on a consumer’s creditworthiness, credit standing, credit capacity, character, general
                 reputation, personal characteristics, or mode of living (the “Seven Factors”) and which is used or
                 expected to be used or collected in whole or in part for the purpose of serving as a factor in
                 underwriting a Mortgage Loan Application or performing a Prequalification Analysis. Such data may
                 include, but are not limited to, data contained in: (i) residential mortgage credit reports, “in-file” credit
                 reports, or “consumer reports,” as defined in the FCRA; (ii) the Uniform Residential Loan Application,
                 including any attachments and/or supplements thereto; and (iii) any correspondence or
                 communication from the consumer or any third party which includes information relating to one of
                 the Seven Factors.
           (c)   “Mortgage Loan Application” shall mean the submission by a mortgage loan applicant of financial
                 information and identification of the specific property to secure the mortgage loan for the purpose of
                 obtaining an underwriting decision.
           (d)   “Prequalification Analysis” shall mean the evaluation of Consumer Credit Data with respect to a
                 prospective mortgage loan applicant for the purpose of evaluating such prospective applicant’s
                 qualification for mortgage financing, other than in connection with a Mortgage Loan Application.
           (e)   “Subsidiary” shall mean a mortgage lending entity more than fifty percent (50%) of whose controlling
                 interest or outstanding voting shares or securities are owned or controlled, directly or indirectly, by
                 UWM.


 6.02. License Agreement. Broker represents that it is an Affiliate or Subsidiary of UWM and that it has received
       and read the License Agreement and understands and agrees that it shall be fully obligated to comply with
       each and every provision of such License Agreement in connection with its use of the Licensed Application.

 6.03. Licensing Rights. UWM agrees that, as and to the extent set forth in this ARTICLE VI, its license rights under
       the License Agreement shall extend to Broker in connection with the Licensed Application. Broker agrees that
       the rights granted to it shall not extend to any third party, including, but not limited to, Broker's customers,
       subsidiaries and/or affiliates.

 6.04. UWM Agent. Broker expressly appoints UWM as its agent, as that term is defined in the FCRA, in connection
       with any use of the Licensed Application by Broker with respect to Mortgage Loan Applications or
       Prequalification Analyses. Broker also expressly acknowledges, understands and agrees that UWM's role as
       Broker's agent shall not extend beyond the limited purposes set forth in this Section 6.04, and for all other
       purposes, there shall be no such principal and agent relationship. Moreover, Broker shall in no way
       misrepresent to third parties the limited extent of this principal/agent relationship. Broker further
       acknowledges, understands and agrees that any recommendation rendered by the Licensed Application in
       the evaluation of Consumer Credit Data will not constitute an approval or denial of the Mortgage Loan
       Application by UWM or a commitment to lend by UWM.

 6.05. Fannie Mae Agent. In connection with the processing and evaluation of Consumer Credit Data by the
       Licensed Application for purposes of making an underwriting recommendation or performing a Prequalification

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        Analysis (if applicable), Broker expressly appoints Fannie Mae, as owner of the Licensed Application, as its
        agent, as that term is defined in the FCRA. As Broker's agent, Fannie Mae shall, and is hereby expressly
        authorized by Broker to, obtain Consumer Credit Data for the sole purpose of performing a Prequalification
        Analysis and/or making an underwriting recommendation. Broker also expressly acknowledges, understands
        and agrees that Fannie Mae's role as Broker's agent shall not extend beyond the limited purposes set forth in
        this Section 6.05, and for all other purposes, there shall be no such principal and agent relationship. Moreover,
        Broker shall in no way misrepresent to third parties the limited extent of this principal/agent relationship. Broker
        further acknowledges, understands and agrees that any recommendation rendered by the Licensed
        Application in the evaluation of Consumer Credit Data will not constitute an approval or denial of the Mortgage
        Loan Application by Fannie Mae or a commitment to purchase the loan by Fannie Mae. Broker shall disclose
        any secondary use of Consumer Credit Data that is facilitated by use of the Licensed Application to the issuing
        consumer reporting agency.

 6.06. Affiliate Relationship. If Broker is an Affiliate, Broker shall use the Licensed Application for the primary
       purpose of (i) originating or underwriting mortgage loans intended to be closed by UWM, or assigned or sold
       to UWM, and/or (ii) performing Prequalification Analyses for UWM (to the extent that the performance of
       Prequalification Analyses utilizing the Licensed Application is permitted under the License Agreement). If
       Broker is an Affiliate, Broker shall not be permitted to use the Licensed Application’s wholesale lending (“DU®
       wholesale”) functionality pursuant to this ARTICLE VI. If Broker is a Subsidiary, Broker shall use the Licensed
       Application only in connection with its own Mortgage Loan Applications and/or Prequalification Analyses
       and/or those of UWM (to the extent that the performance of Prequalification Analyses utilizing the Licensed
       Application is permitted under the License Agreement).

6.07.   Requesting Additional Consumer Reports. Notwithstanding anything to the contrary in that Section of the
        DU Schedule captioned “Use of Licensed Application,” Broker must first obtain written permission from the
        mortgage loan applicant to request additional consumer reports before using the Licensed Application as
        described below:

           (a)    With respect to Mortgage Loan Applications previously approved but not yet closed:

                         (i)     to request and receive additional Consumer Reports through the Credit
                                 Retrieval Module, when Broker is requesting such reports in connection with its
                                 own Mortgage Loan Applications and/or Prequalification Analyses, or because
                                 other circumstances exist which Broker believes justify the request for such
                                 additional consumer reports under the FCRA;

                         (ii)    to analyze or evaluate Consumer Credit Data, including Consumer Reports,
                                 when Broker determines that data obtained subsequent to its initial approval
                                 may affect its prior underwriting approval decision;

                         (iii)   to request and receive Consumer Reports and/or analyze or evaluate
                                 Consumer Credit Data when the loan applicant(s) request different loan terms
                                 or a different loan product than that originally requested by the loan applicant(s);
                                 and

            (b)   With respect to Mortgage Loan Applications previously denied by Broker, which denial decision has
                  been communicated to the applicant(s):

                         (i)     to request and receive Consumer Reports through the Credit Retrieval Module,
                                 when Broker is requesting such reports in connection with its own Mortgage
                                 Loan Applications and/or Prequalification Analyses;
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                         (ii)   to analyze or evaluate Consumer Credit Data, including Consumer Reports,
                                when (A) Broker determines that data obtained subsequent to its initial denial
                                decision may affect its prior underwriting decision, and (B) Broker intends to
                                make and communicate an offer of credit to the applicant(s) if an approval
                                recommendation decision is rendered by the Licensed Application as a result
                                of consideration of the additional data obtained.

6.08.   Intended Beneficiary. Broker and UWM acknowledge and agree that Fannie Mae is an intended beneficiary
        of ARTICLE VI.

6.09.   Termination of ARTICLE VI. ARTICLE VI shall remain in full force and effect unless terminated pursuant to
        the provisions of this Section or terminated pursuant to Section 7.06 of this Agreement. The parties
        acknowledge and agree that ARTICLE VI is subject to the License Agreement and that ARTICLE VI shall
        automatically terminate upon termination of the Desktop Underwriter Schedule and/or the Redistribution
        Addendum by Fannie Mae and/or UWM. The parties acknowledge that, pursuant to the terms of that Section
        of the Redistribution Addendum captioned “Termination of Affiliates and Subsidiaries“, Fannie Mae may, in
        its absolute discretion, immediately terminate access by Broker to the Licensed Application for any breach of
        (a) the License Agreement, (b) ARTICLE VI of the Agreement, or (c) any other agreement between Broker
        and any lender (including UWM) that has access to the Licensed Application. Upon termination of ARTICLE
        VI, the other terms and conditions of this Agreement shall continue in full force and effect unless otherwise
        terminated or amended pursuant to the terms hereof.

6.10.   Licensed Materials. Immediately upon termination of either ARTICLE VI or this Agreement, Broker shall
        cease using the Licensed Materials, and destroy or return all copies of the Licensed Materials in its possession
        to UWM. Promptly upon request from UWM or Fannie Mae, Broker shall provide UWM or Fannie Mae with
        written certification of its compliance with the foregoing, executed by a duly authorized officer of Broker.

6.11.   DU Support. UWM, and not Fannie Mae, shall be responsible for providing Broker with (i) first line support
        with respect to Broker questions and comments concerning Fannie Mae's automated underwriting guidelines
        and policies, including, but not limited to, questions concerning the interpretation and applicability of the
        Licensed Application's findings reports and questions relating to Fannie Mae's Selling Guide and (ii)
        appropriate training relating to the use of the Licensed Application and such guidelines and policies.

6.12.   ARTICLE VI Conflict with License Agreement. In the event of a conflict between the terms of ARTICLE VI
        and the terms of the License Agreement, the terms of the License Agreement shall govern.

6.13.   Assignment of ARTICLE VI Rights. Rights under ARTICLE VI may not be assigned by Broker to any other
        person(s), firm(s), corporation(s) or other entities without the prior express written consent of Fannie Mae and
        UWM.

6.14.   Notification. This Section 6.14 applies only to notices required by ARTICLE VI. All other notices required
        pursuant to this Agreement shall be provided according to Section 7.21 of this Agreement. All notices,
        requests, demands, and other communications with required pursuant to ARTICLE VI (other than routine
        operational communications) shall be in writing and shall be deemed to have been received by a party (i)
        when actually received in the case of hand delivery, (ii) one (1) business day after being given to a reputable
        overnight courier with a reliable system for tracking delivery, (iii) when sent by confirmed facsimile with a copy
        sent by another means specified in this paragraph, or (iv) seven (7) days after the date of mailing, when
        mailed by United States mail, registered or certified mail, return receipt requested, postage prepaid, and
        addressed to the recipient's contact person/address set forth below:

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         UWM:             United Wholesale Mortgage, LLC
                          585 South Blvd E.
                          Pontiac, MI 48341
                          Attention: CLIENT APPROVAL & SUPPORT


         Broker:          _____________________________
                          _____________________________
                          _____________________________
                          Attention:_____________________

         In the event that the recipient does not so specify a contact person/address, notices shall be addressed to
         the general counsel at the recipient’s corporate headquarters. A party may from time to time change its
         address or designee for notification purposes by giving the other party prior written notice of the new address
         or contact person.

6.15.    Conflict. In the event that any provision of ARTICLE VI conflicts with the law under which ARTICLE VI is to
         be construed, or if any such provision is held invalid, void or unenforceable by a court with jurisdiction over
         the parties to ARTICLE VI, such provision shall be deemed to be restated to reflect as nearly as possible the
         original intention of the parties in accordance with applicable law, and the remainder of ARTICLE VI and the
         Agreement shall remain in full force and effect.


                                                    ARTICLE VII
                                             MISCELLANEOUS PROVISIONS

 7.01.    Amendment of Agreement. Except as set forth on Section 7.08, this Agreement may not be amended
          except in writing executed by authorized representatives of both Broker and UWM.

 7.02.    Waiver Nonbinding. The failure of UW M to insist in any one or more instances upon strict performance
          of any of the covenants, agreements, or conditions of this Agreement, or to the exercise of any rights hereunder,
          shall not be construed as a waiver or a relinquishment for the future of such covenants, agreements, conditions
          or rights, and any and all waivers must be in writing and be signed by the party waiving its rights.

 7.03.    No Obligations To Make Loans. Nothing contained in this Agreement shall be construed to require UW M to
          approve, purchase and/or fund any Mortgage Loan or Mortgage Loans submitted by Broker pursuant to the
          terms hereof. Approval and funding of any such Mortgage Loan or Mortgage Loans shall be in the sole and
          absolute discretion of UWM, and said decision will be made on a loan by loan basis. Broker shall not be
          obligated to submit any particular mortgage loan applications or any minimum number of loan applications
          to UW M.

 7.04.    No Agency or Employment Relationship. With the limited exception in Section 6.04 of this Agreement, both
          parties understand and agree that it is not intended that this Agreement create or establish a relationship of
          employer and employee between UW M and Broker, nor is it intended that Broker will be UW M’s partner,
          joint venturer or agent. Broker is an independent contractor, and is hereby expressly prohibited from
          holding itself out as an agent, representative or employee of UW M or of having any endorsement from or
          affiliation with UW M.

 7.05.    Term. This Agreement is for an initial term of one (1) year and shall automatically renew for successive
          terms of one (1) year each, unless terminated pursuant to Section 7.06 below.

 7.06.    Termination. This Agreement may be terminated by either party for any reason, with or without cause,
          breach or other justification, upon seven (7) days prior written notice, and may be terminated immediately: (a)
          for breach of any covenant, obligation, or duty herein contained; or (b) for violation of any law, ordinance, statute

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          rule or regulation governing the conduct of either party hereto; or (c) upon the suspension, cancellation, or
          termination of any license or permit required by a party to conduct business and/or perform its obligations
          hereunder; or (d) if any warranty, representation or statement made by a party to this Agreement was false in
          any material respect when made or furnished; or (e) in the event a party becomes a debtor in any voluntary or
          involuntary bankruptcy proceeding; or (f) in the event that a party shall become insolvent, fails to pay its debts
          as they become due, or makes an assignment for the benefit of its creditors; or (g) in the event of a seizure,
          execution or levy upon material assets of a party; or (h) in the event of a dissolution of a party; or (i) upon
          the sale or disposition of a significant portion of the assets or equity interests of a party; or (j) in the event that
          a trustee, custodian or receiver shall be appointed in connection with material assets of a party. Termination
          shall not affect the obligations with respect to any Mortgage Loans submitted prior to such termination,
          except that UW M shall not be obligated to purchase and/or fund any such Mortgage Loans approved prior to
          termination if UW M terminates this Agreement for breach by Broker on the basis of fraud, dishonesty,
          misrepresentation, negligence or other breach of this Agreement. In addition, termination shall not affect
          either party’s obligations with respect to amounts previously owed to the other party pursuant to this
          Agreement, or Broker’s indemnification and confidentiality obligations to UWM.

 7.07.    Current Financials & Document Retention. At UWM’s request, Broker shall provide to UW M its year-end
          financial statements, including a balance sheet and income statement. If UW M acts as FHA or VA sponsor
          for Broker, copies of all closing documents for Mortgage Loans funded by UW M shall be retained by Broker
          for the time period required by FHA or VA. Broker is responsible for maintaining a complete origination file
          containing all documents that were used in processing and underwriting a Mortgage Loan.

 7.08.    UWM Amendments & Website. This Agreement, and UW M’s policies, procedures, requirements and
          instructions concerning Mortgage Loan Applications and Mortgage Loans, including but not limited to those
          contained in the UWM Guide, may be amended by UWM from time to time, and UWM will endeavor to provide
          broker with prompt notice thereof, which may occur by posting any such amendments on UW M’s website,
          which Broker is required to regularly check and monitor as a condition of this Agreement. Broker agrees that
          the submission of any Mortgage Loan Applications or Mortgage Loans to UW M after such amendment shall
          be Broker’s agreement to the amendment without further signature or consent of any kind. Any such
          amendment shall apply to pending, and/or future Mortgage Loan Applications submitted by Broker.

 7.09.    Quality Control. Broker agrees to provide UWM upon its request copies of Broker’s policies and procedures,
          training materials and other applicable documentation related to Broker’s business practices for review by
          UWM. Broker shall also permit any officer, employee or designated representative of UW M, at any reasonable
          time during regular business hours, to examine, reproduce and make audits of any of the processes
          implemented and documents in the possession or control of Broker regarding any Mortgage Loan or
          Mortgage Loan Application submitted to UWM pursuant to this Agreement. If upon the request of UW M, Broker
          fails to timely deliver all documents and records associated with or related to any Mortgage Loan or Mortgage
          Loan Application submitted to UW M pursuant to this Agreement, Broker shall give UW M and its officers,
          employees, or designated representatives reasonable access to Broker’s premises in order to allow UW M
          to retrieve, prepare, reproduce and otherwise obtain all such documents and records. Broker shall also
          make its officers, employees, and/or designated representatives available to UW M and shall cooperate with
          UW M in connection with all such examinations, audits and document and record collection activities. Further,
          Broker hereby consents and gives UWM permission to record telephone calls between employees and
          independent contractors of UWM and Broker for quality control purposes and further, Broker represents and
          warrants that it has obtained or will obtain all required consents and approvals of Broker’s current and future
          employees and independent contractors authorizing UWM to record such phone calls.

 7.10.    Unacceptable Applications & Submissions. Under no circumstances shall Broker submit any Mortgage
          Loan Applications for Mortgage Loans that could be considered to constitute a “high cost loan” or “predatory
          loan” as defined in: (a) the Home Ownership and Equity Protection Act, as amended; or (b) any other federal,
          state or local law or regulations.

7.11.    Broker Advertising & Customer Privacy. Broker may advertise to the public the availability of various loan
         programs and Broker’s services, but Broker may not, in any way, directly or indirectly identify UW M or related
         parties in any such advertising unless: (i) required by applicable laws or regulations; or (ii) UW M has, in
         advance, approved use of UW M’s name by the Broker in writing. Broker agrees to provide UWM upon its

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         request with model advertising samples in use at the time of application to do business with UWM, as well as
         to notify UWM with questions on any substantive changes to those advertisements, or of any new
         advertisements Broker uses. W ithout the prior consent of UW M, Broker shall not sell or distribute any customer
         or contact list incorporating the names, addresses or any non-public personal information of such Borrower(s) or
         Mortgagors.

 7.12.    Entire Agreement. The arrangements and relationships contemplated in this Agreement and/or any document
          referred to herein constitute the sole understanding and agreement of the parties. This Agreement supersedes
          all other agreements, covenants, representations, warranties, understandings and communications between
          the parties, whether written or oral, with respect to the transactions contemplated by this Agreement.

7.13.     Invalidity & Severability. The invalidity or unenforceability of any particular provision of this Agreement
          shall not affect the other provisions of this Agreement, and any provision determined to be invalid and/or
          unenforceable by a court or tribunal of competent jurisdiction shall be revised and reformed to make such
          provision valid and/or enforceable, if possible, to the fullest extent permitted by law, otherwise this Agreement
          shall be construed as if such invalid or unenforceable provision was omitted.

 7.14.    Benefit & Assignment. Broker may not assign its rights and/or delegate its duties and obligations under
          this Agreement without the written consent of UWM. UWM may assign its rights and/or delegate its
          duties and obligations under this Agreement to any subsidiary, affiliate or successor in interest
          without the consent of Broker. Subject to the foregoing, this Agreement shall be binding upon and inure
          to the benefit of the parties and their respective heirs, legal representatives, successors and assigns.

 7.15.    Governing Law. This Agreement shall be governed by, and construed and enforced in accordance with,
          applicable federal laws and the laws of the State of Michigan, without reference to conflict of laws principles.
          The parties to this Agreement hereby unconditionally and irrevocably: (a) submit to the exclusive jurisdiction of
          the Oakland County (Michigan) Circuit Court, or in the event that original jurisdiction may be established, the
          United States District Court for the Eastern District of Michigan, Southern Division, sitting in Detroit, Michigan
          (hereinafter the "Courts"), in any action arising out of this Agreement; (b) agree that all Claims in any action
          must be decided in one of said Courts; and (c) waive, to the fullest extent that they may effectively do so, the
          defenses of: (i) lack of subject matter jurisdiction of such Courts; (ii) the absence of personal jurisdiction by
          such Courts over the parties to this Agreement; and (iii) forum non-conveniens.

 7.16.    Attorney’s Fees. In the event a dispute arises under this Agreement between Broker and UW M, which
          dispute results in legal action being taken by one or both of the parties, the prevailing party shall be entitled to
          recover its reasonable attorney fees, costs and other expenses associated with the enforcement of its rights
          under this Agreement, and the non-prevailing party hereby agrees to promptly pay same.

7.17.     Early Payoffs. U W M i s c o m m i t t e d t o t h e l o n g t e r m p e r f o r m a n c e o f i t s l o a n s . A s s u c h ,
          s hould any Mortgage Loan delivered hereunder be paid off within one hundred eighty (180) days of the funding
          of such Mortgage Loan for any reason, Broker shall promptly deliver to UW M the greater of: (a) any credit
          for the rate paid by UW M to the borrower or Broker, in the aggregate; or (b) one (1%) percent of the amount
          of the Mortgage Loan.

 7.18.    Enforceability & Construction. Any provision of this Agreement that is prohibited or unenforceable in any
          jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such prohibition or unenforceability
          without invalidating the remaining portions hereof or affecting the validity or enforceability of such
          provision in any other jurisdiction, and to this end, the provisions hereof are severable. In the event any of
          the terms or provisions contained in this Agreement conflict with those contained in other documents executed
          in connection with this Agreement, the terms and provisions of this Agreement shall govern and control. In
          the event of any conflict, inconsistency or ambiguity between the terms of this Agreement and those contained
          in any Addendum hereto or Amendment hereof, the terms and conditions of such Addendum or Amendment
          shall be deemed to govern and control. Notwithstanding the foregoing, in the event of any conflict,
          ambiguity or inconsistency between the terms and conditions contained in this Agreement and those set
          forth in the UWM Guide, the terms and conditions of the UWM Guide shall be deemed to supersede and
          control.


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 7.19.   Counterparts & Electronic Signatures. This Agreement may be executed in one or more counterparts, each
         of which shall constitute an original and all of which shall constitute the same Agreement. The parties to this
         Agreement hereby further agree that due to their distant locations and/or differing schedules, this Agreement
         may be executed via facsimile, electronic mail or electronic signature and that a facsimile or electronic
         signature of this Agreement containing counterpart facsimile or electronic or other signature shall be valid
         and binding for all purposes.

 7.20.   Notices. Any notices necessary to be given under the provisions of the Agreement will be sufficient if in writing
         and delivered personally, by U.S. certified mail, return receipt requested or by any nationally recognized
         express courier service to the addresses set forth below, or to such other address as may hereafter be
         furnished by either party to the other party by like notice, or via electronic mail if consented to by the parties;

         UWM:             United Wholesale Mortgage, LLC
                          585 South Blvd E.
                          Pontiac, MI 48341
                          Attention: CLIENT APPROVAL AND SUPPORT

         Broker:                                               ___



                              Attention:                     _____


 7.21.   No Third Party Beneficiaries. Except for Section 6.08 and Section 7.27 of this Agreement the parties to
         the Agreement do not intend to confer benefits upon any person or entity who or which is not a signatory to
         this Agreement.

 7.22.   Time Is Of The Essence. Time shall be of the essence for purposes of this Agreement as well as with
         respect to all of the documents and instruments executed in connection herewith.

 7.23.   Interpretation. This Agreement (and all agreements, documents, instruments and/or exhibits referred
         to or incorporated into this Agreement) is being entered into among competent persons, who are experienced
         in business and represented by counsel, and has been reviewed by the parties and their counsel. Therefore,
         any conflicting or ambiguous language contained in this Agreement (and all agreements, documents,
         instruments and/or exhibits referred to or incorporated herein) shall not necessarily be construed against any
         particular party as the drafter of such language.

 7.24.   JURY TRIAL AND CLASS ACTION WAIVER. BROKER AND UWM ACKNOWLEDGE THAT THE RIGHT
         TO TRIAL BY JURY IS A CONSTITUTIONAL ONE, BUT THAT IT MAY BE WAIVED. UWM AND BROKER,
         AFTER CONSULTING WITH, OR HAVING THE OPPORTUNITY TO CONSULT WITH, COUNSEL OF
         THEIR CHOICE, EACH HEREBY KNOWINGLY, VOLUNTARILY AND INTENTIONALLY, WITHOUT
         COERCION, WAIVE ALL RIGHTS TO A TRIAL BY JURY OF ALL DISPUTES BETWEEN THEM. BROKER
         AND UWM FURTHER AGREE THAT ANY PROCEEDINGS WILL BE CONDUCTED ON AN INDIVIDUAL,
         NOT A CLASS-WIDE BASIS, AND THAT ANY PROCEEDING MAY NOT BE CONSOLIDATED WITH
         ANOTHER PROCEEDING. BROKER AGREES NOT TO SUE UWM AS A CLASS PLAINTIFF OR CLASS
         REPRESENTATIVE, JOIN AS A CLASS MEMBER, OR PARTICIPATE AS AN ADVERSE PARTY IN A
         CLASS ACTION LAWSUIT AGAINST UWM. NOTHING IN THIS SECTION LIMITS BROKER’S RIGHT TO
         BRING A LAWSUIT AS AN INDIVIDUAL PLAINTIFF.

 7.25.   Authorization. Broker hereby consents and gives UWM permission to obtain information about the Broker.
         Broker agrees to provide written confirmation to UWM that is has conducted background checks on any and
         all employees and independent contractors of the Broker that include, without limitation, professional history
         information, criminal record information, credit information and other public information. Further, at UWM’s
         request, Broker agrees to provide UWM with the adjudication criteria associated with such background
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        checks as well as the results indicating conformance to such criteria. At UWM’s request, Broker also agrees
        to confirm in writing that the background checks of its employees and independent contractors produced no
        violation(s) of applicable agency guidelines as well as all federal, state and/or local laws by said employees
        and independent contractors. Broker consents to the release of information to regulators and law
        enforcement agencies about any Mortgage Loan or loan application that may be suspected to contain
        misrepresentations and/or irregularities. It is understood and agreed that Broker and its employees may be
        named as the originator or loan officers on such Mortgage Loans, whether or not Broker or its employees
        are implicated in any allegations of wrongdoing. Broker hereby releases and agrees to indemnify, defend
        and hold harmless UWM from and against any and all liability for damages, losses, costs and expenses that
        may arise from the reporting or use of any information submitted by UWM or used in any way by UWM.

7.26.   Authorization Release. Broker hereby consents to a review and confirmation of any and all documents,
        records and other information related to its officers, directors, principals, and similarly situated persons
        with strategic decision making authority in Broker and Broker as to their and its business professional
        and financial reputation and standing, personal financial standing, fitness as a mortgage broker, a
        concurrent funding broker and/or wholesale correspondent, and such other information as may be
        received during the review and confirmation to be provided to UWM. Every firm, company, governmental
        agency, court, association or institution having control of any documents, records and other information
        pertaining to Broker or any of its officers, directors, principals, and similarly situated persons with
        strategic decision making authority in Broker is hereby authorized and requested to furnish, allow to be
        copied or otherwise provide, information of the kind described above to UWM or its representatives,
        conducting the review and confirmation. This authorization and request includes, but is not limited to,
        documents, records or files regarding any charges or complaints filed against any of the aforementioned
        individuals, including any complaints erased by law, whether formal or informal, pending or closed, and
        information from Interthinx, Inc. database. Broker specifically authorizes and requests consumer credit
        reporting agencies to provide personal credit history on any owner of Broker, executive officer of Broker,
        or similarly situated person with strategic decision making authority in Broker to UWM. In consideration
        of the time and expense incurred in reviewing and evaluating the application and qualifications of Broker
        and its officers, directors, principals and similarly situated persons with strategic decision making
        authority in Broker as to its and their fitness as a broker for UWM, and to facilitate the providing of
        information for the review and confirmation by UWM, on behalf of the aforementioned persons and Broker,
        on behalf of itself and its officers, directors, principals, and similarly situated persons with strategic
        decision making authority in Broker, hereby releases, discharges, exonerates and covenants not to sue
        any person, company or governmental organization providing information in the review and confirmation,
        any recipient of information, including UWM, its representative, its parent, sister and affiliate companies
        and its and their officers, agents, employees and independent contractors, from any and all liability of
        every nature and kind arising from or in connection with the furnishing of information, the inspection of
        documents, records and other information, and the preparation of the review and confirmation of the
        information provided to UWM.

7.27.   Loan Prospector/Intended Beneficiary. Freddie Mac offers its automated underwriting service, Loan
        Prospector, to organizations which are licensed originators of mortgage loans but do not have a seller
        agreement or seller number with Freddie Mac (“Third Party Originators”). For Third-Party Originators
        to access Loan Prospector, the Third-Party Originators must obtain a Third-Party Originator Number from
        Freddie Mac. Broker represents and warrants to UWM that it shall comply with any rules, guidelines or
        other requirements established by Freddie Mac in connection with Broker’s use of Loan Prospector.
        Broker and UWM acknowledge and agree that Freddie Mac is an express, intended third-party
        beneficiary of this Agreement solely for the purpose of enforcing Freddie Mac’s rights under this
        Agreement, including but not limited to under this Section 7.27.

7.28    Blink Application System. While Broker is registered to do business with UWM, UWM grants to Broker
        a non-exclusive, revocable, non-sublicensable, non-transferable license to use the mark, name or logo
        of its Blink application system (“Blink Mark”) in association or in connection with the operation of
        Broker’s services or business within the United States. It is understood and agreed that this license shall
        pertain only to the Blink Mark. Broker acknowledges that Broker shall not acquire any right, title or
        interest in the Blink Mark by virtue of this license. Broker shall not by any act or omission use the Blink
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        Mark in any manner that disparages or reflects adversely on UWM or its business reputation and shall
        indemnify, defend and hold harmless UWM in connection with any act or omission of Broker, its
        employees or agents associated with the license granted hereunder. UWM may terminate this license
        at any time and for any reason. Upon either the termination of the license or if Broker is no longer
        registered to do business with UWM, the Broker shall immediately discontinue all use of the Blink Mark.
        Further, Broker shall not use any other mark, name or logo of UWM or any related entity of UWM without
        UWM’s prior written approval. Further, in connection with the Blink application system, Broker may be
        provided with certain information, including but not limited to loan documentation and/or disclosures,
        from third party providers or otherwise enter into certain agreements with such third party providers
        (“Blink Relationships”). Broker waives, releases and forever discharges UWM from and against any
        and all responsibility, liability, demands, damages, claims and actions of every name and nature that
        may arise from the Blink Relationships.

7.29    UWM Programs. From time to time, certain programs may be offered by UWM, or on behalf of UWM,
        to Broker, or through Broker to the Borrowers, in connection with the Mortgage Loans or Broker’s
        business relationship with UWM (collectively, the “UWM Programs”). Broker waives, releases and
        forever discharges UWM from and against any and all responsibility, liability, demands, damages, claims
        and actions of every name and nature that may arise from the UWM Programs.

7.30.   Liquidated Damages. Broker and UWM agree that the measure of damages in the event of a breach
        of Broker’s representation and warranty under Section 3.03(x) may be difficult, if not impossible, to
        ascertain. Accordingly, in the event of a violation of Section 3.03(x), Broker shall immediately pay to
        UWM the greater of: (i) Five Thousand Dollars ($5,000.00) per loan closed with UWM, or (ii) Fifty
        Thousand Dollars ($50,000.00), as liquidated damages for such breach without the need for proof of
        damages by UWM. UWM’s right to liquidated damages are in addition to (not in lieu of) any other
        monetary or other remedies UWM may have under this Agreement and/or applicable law.




         WHEREFORE, the parties hereto have executed the above and foregoing Agreement as of the day
         and year first above written.

        UWM                                                                BROKER

        United Wholesale Mortgage, LLC                                     _______________________________



        By: ____________________________                                   By: ____________________________

        Name: _________________________                                    Name: _________________________

        Its: ____________________________                                  Its: ____________________________




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